                             UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF WISCONSIN

THE ESTATE OF LALIAH SWAYZER, et al.
            Plaintiffs,                                                 Case No: 16-CV-1703
     v.
DAVID J. CLARKE JR., et al.
            Defendants.
______________________________________________________________________________

        PLANTIFFS’ L. R. 7(h) EXPEDITED NON-DISPOSITIVE MOTION
             FOR STAY OF PAYMENT OF ATTORNEY FEES/COSTS
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        Plaintiffs’ attorney, James J. Gende II, by his attorneys, BARNES LAW, LLP, respectfully

requests a stay of the payment for fees and costs awarded to Leib, Knott and Gaynor on January 9,

2020. (D.499). In support thereof, the plaintiff’s attorney states as follows:

        I.      FEDERAL COURTS IN THE EASTERN DISTRICT HAVE DELAYED
                CONSIDERATION    AND/OR    IMPOSITION   OF ATTORNEY
                FEES/COSTS UNTIL THE “END OF THE CASE.”

        In the Estate of Perry v. Milwaukee County, et al., 12-CV-664-JPS, Milwaukee County secured a

sanctions award against plaintiffs’ attorneys exceeding $280,000, where the District Court held:

        The Court noted that the lack of a constitutional duty owed to Perry by the County
        Defendants was ‘known at the outset of discovery in this case, at the latest. Even so,
        plaintiffs’ counsel persisted in years of litigation against the County Defendants with no
        hope of success.’ Estate of Perry v. Wenzel, --- F. Supp. 3d ----, 2016 WL 2772193, at *10 (E.D.
        Wis. May 6, 2016).

(Estate of Perry, D.186:2). The District declined to implement a stay pending appeal, stating:

        The standard for granting a stay pending appeal ‘mirrors that for granting a preliminary
        injunction.’ In re A&F Enters., Inc. II, 742 F.3d 763, 766 (7th Cir. 2014). Courts consider the
        moving party’s likelihood of success on the merits, the irreparable harm that will result to
        each side if the stay is either granted or denied in error, and whether the public interest
        favors one side or the other. Id. For the reasons already stated, ECF No. 143, the Court
        considers it unlikely that the plaintiffs will succeed on appeal.




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(Estate of Perry, D.182:2-3). The Seventh Circuit subsequently vacated the sanctions award in its

entirety, while likewise reversing the District Court’s grant of summary judgment to the City and

County of Milwaukee. Estate of Perry v. Wenzel, 872 F.3d 439, 464 (7th Cir. 2017).

        After the Estate of Perry was remanded to the Eastern District, the Hon. J.P. Stadtmueller was

re-assigned as the responsible Court official.     Undeterred, Milwaukee County renewed its motion

for sanctions, but the District Court declined to consider same at that time:

         9:06 Attorney Bohl [Milwaukee County’s attorney] inquires about briefing on the issue of
        sanctions; Court instructs that the issue of sanctions will be addressed at the end of the case.

(Gende Decl., ¶2, Ex.A)(emphasis added) Ultimately, Milwaukee County abandoned its quest for

sanctions and paid Mr. Perry’s Estate $950,000 to resolve his constitutional violation claims.

        II.     IT IS STANDARD FOR MILWAUKEE COUNTY TO DELAY THE
                PAYMENT OF SANCTIONS UNTIL THE RESOLUTION OF A CASE.

        In a Milwaukee County state court matter being handled by plaintiff’s attorney, Watts-Howell

v. Allstate, et al., 19CV3284, the Hon. Chief Judge Mary E. Triggiano (Gende Decl., ¶3, Ex.B),

imposed discovery sanctions against defense counsel and awarded attorney fees. (Gende Decl., ¶4,

Ex.C)     However, Chief Judge Triggiano delayed the payment of costs and fees to “30 days after

the resolution” of the matter. Id. at page 3.

        Here, the Court indicated payments shall be made within “sixty (60) days of the date of this

order, unless [plaintiff’s attorney] seeks additional time in writing prior to the expiration of the sixty-

day period.” (D.499:3-4). Plaintiffs’ attorney is seeking additional time per this motion in the interest

of justice and the likelihood that this matter, amongst others in this case, will likely be appealed in

the Seven Circuit absent resolution by settlement. Considering Milwaukee County’s prior award of

sanctions exceeding $280,000 in the Estate of Perry was vacated in its entirety on appeal, abandoned

on remand, and Milwaukee County ultimately paid Mr. Perry’s Estate $950,000, the Court’s




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extension of payment to the resolution of a case that is now pending nearly four years, preserves the

status quo, protects the parties’ interests, and does no harm to the public interest.

        III.    CONCLUSION

        WHEREFORE, the Plaintiffs’ attorney respectfully requests this Court delay the payment of

the awarded fees/costs until 30-days after the resolution of this matter.

        Respectfully submitted this 3rd day of March, 2020.

                                                s/ Robert E. Barnes
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